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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                        CASE NO.: 18-CV-241OO-COOKE/GOODMAN


   DIGNA VINAS,

          Plaintiff,

   vs.

   THE INDEPENDENT ORDER OF
   FORESTERS,

         Defendant.
   ______________________________/

             PLAINTIFF’S RULE 12(f) MOTION TO STRIKE DEFENDANT’S
     AFFIRMATIVE DEFENSES AND INCORPORATED MEMORANDUM OF LAW

          Plaintiff, Digna Vinas (“Vinas”), by and through her undersigned counsel and

   pursuant to Fed. R. Civ. P. 12(f) hereby moves to strike Defendant, The Independent Order

   of Foresters’ (“Defendant”) affirmative defenses (D.E. 34) filed along with its Answer to the

   Amended Complaint (D.E. 33) and in support states as follows:

                             Introduction and Summary of Argument

          The gravamen of the Amended Complaint is an action for Defendant’s breach of a life

   insurance policy (“Subject Policy”) which Defendant issued to Rigoberto Vinas and a

   declaratory judgment action seeking a declaration that the Subject Policy was in full force and

   effect. In response to Vinas’ Amended Complaint, Defendant has filed numerous putative

   affirmative defenses. This Motion is filed because the affirmative defenses are not so and are

   instead either a series of denials and legal conclusions/theories without sufficient (and in

   some cases any) factual support tying them to the present case, or are just a repetition of
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   Defendant’s Counterclaim. Both deficiencies call for the Affirmative Defenses to be stricken

   or declared by this Court to be mere denials.

                                              Legal Standard

           Rule 12(f) “permits a court to ‘strike from a pleading an insufficient defense or any

   redundant, immaterial, impertinent, or scandalous matter.’” The Macknight Food Grp., Inc.

   v. The Santa Barbara Smokehouse, Inc., No. 15-21179-CIV, 2015 WL 6380644, at *1 (S.D.

   Fla. Oct. 22, 2015) (Cooke, J.) (quoting F ed . R. C iv . P. 12(f)). “A court has ‘broad discretion’

   when it considers a motion to strike under Rule 12(f) of the Federal Rules of Civil Procedure.”

   Id. (quoting Morrison v. Exec. Aircraft Refinishing, Inc., 434 F. Supp. 2d 1314, 1317-18

   (S.D. Fla. 2005)). “[W]eeding out legally insufficient defenses at an early stage of a

   complicated lawsuit may be extremely valuable to all concerned in order to avoid the needless

   expenditures of time and money in litigating issues [that] can be seen to have no bearing on

   the outcome.” Allen v. Goard, No. 14-61147-CIV, 2014 WL 11776965, at *2 (S.D. Fla. Sept.

   5, 2014) (citation omitted).

           It is further appropriate to “weed out” an affirmative defense if it is “insufficient as a

   matter of law.” Id. (citation omitted.) “A defense is insufficient as a matter of law if, on the

   face of the pleadings, if it is patently frivolous, or if it is clearly invalid as a matter of law.” Id.

   (citation omitted). The standard that a defendant must satisfy when a litigant challenges the

   sufficiency of an affirmative defense is the same that a plaintiff must satisfy to withstand a

   Rule 12(b)(6) motion to dismiss. See, e.g., In re Checking Account Overdraft Litig., 307

   F.R.D. 630, 650 (S.D. Fla. 2015) (“Affirmative defenses must meet the pleading standards

   in Iqbal and Twombly.”); Cortes v. Am. Airlines, Inc., No. 1:11-24244-CIV, 2012 WL

   12865845, at *3 (S.D. Fla. July 2, 2012) (Turnoff, M.J., referred by Cooke, J.) (holding that
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   the factual allegations of an affirmative defense “must be enough to raise a right of relief above

   the speculative level”).

          Even without reference to a technical “standard” it is clear that “[t]hreadbare recitals

   of the elements of an affirmative defense, supported by mere conclusory statements, do not

   suffice.” Palms of Pembroke Condo. Ass’n, Inc. v. Glencoe Ins., Ltd., No. 13-62202-CV-

   KAM, 2014 WL 11706422, at *1 (S.D. Fla. Sept. 2, 2014) (internal quotation marks and

  brackets omitted) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). “To state an

   affirmative defense, a defendant cannot rely on naked assertions devoid of further factual

   enhancement.” Id. (internal quotation marks and brackets omitted) (quoting Iqbal, 556 U.S.

   at 678).

          “Although an affirmative defense does not require detailed factual allegations, the

   defendant must give the plaintiff fair notice of the nature of the defense and the grounds upon

   which it rests.” Id. (citation omitted). “An affirmative defense that is no more than a bare

  bones conclusory allegation . . . must be stricken.” Id. (internal quotation marks and brackets

   omitted) (quoting Losada v. Norwegian (Bahamas) Ltd., 296 F.R.D. 688, 690 (S.D. Fla.

   2013)). In other words, the law requires sufficient facts that the Plaintiff is not guessing at

   how the affirmative defense applies to the specifics of the case/claim, at hand.

                                              Argument

             The Court Should Strike the Sixth and Eighth Affirmative Defenses
          Because the Defenses are Conclusory Allegations without Sufficient/Any Facts.

          Defendant plead the following Sixth and Eighth affirmative defenses:




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                                      Sixth Affirmative Defense

                         Plaintiff’s claims are barred by the doctrine of merger
                  and the terms of the Application and Diabetes Questionnaire
                  and the Certificate.

                                     Eighth Affirmative Defense

                         Plaintiff’s alleged losses are subject to and barred by all
                  terms and conditions of the Certificate, including the Diabetes
                  Questionnaire.

   (D.E. 34, p. 5).

          The Defendant failed to satisfy the general pleading requirements of Rule 8 of the

   Federal Rules of Civil Procedure and the standards set forth above because it has not alleged

   the requisite facts to support the elements of the defenses. “An affirmative defense is one that

   admits to the complaint, but avoids liability, wholly or partly, by new allegations, an excuse,

  justification, or other negating matter.” Watkins Underwriters at Lloyd’s Syndicate, 457 v.

   Blue Illusions Limited, No. 17-202-civ-Graham, 16-25024-civ-Graham, 2017 WL 7792604,

   at *2 (S.D. Fla. July 17, 2017) (citation omitted). Both of the above defenses allege that

   Plaintiff’s claims are barred by the terms and conditions of the “Certificate, Application and

   Diabetes Questionnaire”; however, simply referencing these insurance policy documents does

   not meet the necessary pleading standards. “. . .[C]onclusory allegations that do not assert

   sufficient factual basis for their allegations . . . are therefore insufficient as a matter of law.”

   MPSA Claims 1. LLC v. Infinity Auto Insurance Company, No. 15-21504-Civ-King/Torres,

   2017 WL 10402992, at *4 (S.D. Fla. August 9, 2017).

          In Watkins Underwriters, the court properly struck similar affirmative defenses which

   consisted of conclusory allegations based on the terms of an insurance policy. Id. at *3.

   There, the insurer’s deficient defense asserted that the “counterclaim is barred by the clear
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   and unambiguous terms of the policy.” Id. The affirmative defense language found to be

   lacking in Watkins appears remarkably similar to the Defendant’s eighth affirmative defense

   claiming that Plaintiff’s losses are “.. .barred by all the terms and conditions of the Certificate,

   including the Application and Diabetes Questionnaire”. (D.E. 34, p. 5).

          The sixth affirmative defense alleges that the Plaintiff’s claims are barred by the

   “Doctrine of Merger”. This bare legal conclusion does not provide sufficient/any facts to

   support its conclusory allegations.      Instead, Defendant simply couches the conclusory

   allegations with vague references to the “terms and conditions” of the policy documents

   (D.E. 34, p. 5) without referring to how the defense applies to the facts of case. Simply

   mentioning the terms and conditions of the policy documents without any more specificity is

   not sufficient.

          In Palms of Pembroke Condominium Association, Inc., discussed supra, the court

   struck an affirmative defense which failed to “provide fair notice of the particular terms,

   conditions ... of the policy that apply.” Id. at *2. (Emphasis added). There, the court rejected

   the defendant’s argument that it identified the relevant policy provisions in the counterclaim

   portion of its answer [because] copying contractual language into another portion of a

   pleading does not satisfy Fed. R. Civ. P. 8(a).” Moreover, the above general defenses do not

   identify which specific count of the Amended Complaint the defenses are addressing. See

   Tsavaris v. Pfizer, Inc. 310 F.R.D. 678, 682 (“A court must not tolerate shotgun pleading or

   affirmative defenses and should strike vague and ambiguous defenses which do not respond to any

  particular count. . .”) (quoting Morrison v. Exec. Aircraft Refinishing, Inc., 434 F. Supp.2d

   1314,1318 (S.D. Fla. 2005) (Emphasis added). Accordingly, the sixth and eighth affirmative

   defenses should be stricken for failing to provide the required factual allegations.
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                 The Defendant’s Fifth, Ninth and Tenth Affirmative Defenses
                       are Denials and Not Legitimate Affirmative Defenses.

          The Defendant pled the following Fifth, Ninth and Tenth affirmative defenses:

                                      Fifth Affirmative Defense

                         Defendants deny that it or any of its agents breached any
                  duty or obligation allegedly owed to plaintiff.

                                     Ninth Affirmative Defense

                          While plaintiff is not entitled to any relief in this action,
                  plaintiff is additionally not entitled to declaratory or other
                  equitable relief because the declaratory relief claims are
                  duplicative of the breach of contract action.

                                     Tenth Affirmative Defense

                          While plaintiff is not entitled to any relief in this action,
                  plaintiff is additionally not entitled to consequential damages
                  because plaintiff has not, and cannot, prove that the alleged
                  consequential damages were within contemplation of the parties
                  at time the plaintiff alleges that a contract was formed.

   (D.E. 34, p. 5).

          The fifth affirmative defense is unequivocally a mere denial that the Defendant

  breached any duty. The defense plainly states, “Defendants deny that it or any of its agents

  breached any duty. . . “ (D.E. 34, p. 5) (Emphasis added). “Affirmative defenses that simply

   deny the complaint’s allegations are not affirmative defenses.” Id. at *2. Furthermore, the

   fifth affirmative defense is also redundant because the Defendant denied the Amended

   Complaint allegations as to the Defendant’s breach of duty in its Answer to the Amended

   Complaint. (D.E. 34, ^14). Accordingly, it simply is not an affirmative defense and should

  properly be stricken.




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          The ninth and tenth affirmative defenses are also denials which state that the Plaintiff

   “is not entitled to any relief in this action. . . .” (D.E. 34., p. 6). (Emphasis added). While

   Defendant’s ninth affirmative defense is not terribly clear, Defendant appears to be

   challenging the elements of the declaratory relief count. Challenging the pleading of the

   Amended Complaint is proper on a motion to dismiss; however, it is not a proper affirmative

   defense. See MSPA Claims 1, LLC v. Infinity Auto Insurance Company, at *4, discussed

   infra. There, the district court reasoned that an affirmative defense which “... attacks the

   Plaintiff’s prima facie case rather than alleging facts or raising new argument is not a true

   affirmative defense.”

          The tenth affirmative defense is also a redundant general denial and a challenge to

   evidence wherein the Defendant alleges that “... plaintiff has not, and cannot, prove that the

   alleged consequential damages were within contemplation of the parties at time the plaintiff

   alleges that a contract was formed.” (D.E. 34, p.6).     (Emphasis added). “A defense that

   simply points out a defect or lack of evidence in the plaintiff’s case is not an affirmative

   defense. “ Adams v. Jump Start Wireless Corporation, 294 F.R.D. 668, 671 (S.D. Fla. 2013).

   As such, the tenth affirmative defense is not an affirmative defense and should be stricken.

          Moreover, like the fifth defense the Defendant’s denials as stated in their ninth and

   tenth affirmative defense are redundant because the denials of the claims were already

   asserted in the Answer to the Amended Complaint (D.E 34, p. 5). In Palms of Pembroke, the

   court reasoned that an affirmative defense which is a specific denial can also be stricken as

   redundant under Rule 12(f) if the complaint allegations addressed in the affirmative defense

   were already denied in the answer. Id. at *2. Here, the allegations denied in the affirmative



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   defenses are included in the Defendant’s Answer. Accordingly, the fifth, ninth and tenth are

   not affirmative defenses and should be treated as denials and stricken.

                     The Seventh Affirmative Defense Should Be Stricken
                Because it is Invalid as a Matter of Law and Unsupported by any
                    Factual Allegations Making it Applicable to this Case

          Defendant pled the following Seventh affirmative defense:

                  Plaintiff’s claims are barred, in whole or in part, by the parol
                  evidence rule because the written terms of the Certificate,
                  Application and Diabetes Questionnaire control.

   (D.E. 34, p. 5).

          This affirmative defense should be stricken for two separate reasons. First, “[a] defense

   is insufficient as a matter of law if, on the face of the pleadings, it is either patently frivolous,

   or if it is clearly invalid as a matter of law.” V /G Investment, Inc. v. M /V Pacific II, No. 12­

   20543-Civ-, 2012 W L 3064097 at *1 (S.D. Fla. July 27, 2012) (quoting Romero v. S. Waste

   Sys., LLC 619 F. Supp. 2d 1356, 1358 (S.D. Fla. 2009) (internal quotation marks and citations

   omitted) (Emphasis added). In the seventh affirmative defense Defendant alleges that the

   Plaintiff’s claims are barred by the “parol evidence rule because the written terms of the

   Certificate, Application and Diabetes Questionnaire control”. (D.E. 34, p. 5). Accordingly,

   the Defendant relies on the application documents of the present life insurance policy to

   support its parol evidence rule defense. Under substantive Florida law1, however, the parol

   evidence rule does not apply to insurance applications.




          1Despite its name the parol evidence rule is a matter of Florida substantive law. MCC-
   Marble Ceramic Ctr., Inc., v. Ceramica Nuova d’Agostino, S.p.A., 144 F.3d 1384, 1388-89
   (11th Cir. 1998).
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          In Beneby v. Midland Nat. Life Ins. Co., 402 So. 2d 1193 (Fla. 3d DCA 1981), the

   Third District Court of Appeal analyzed the application of the parol evidence rule in a case

   with strikingly similar facts to the instant case. There, the plaintiff spouse sued the life insurer

   for denying him death benefits based on the insurer’s claim of material misrepresentations on

   the life insurance application. Id. The appellate court reversed the summary judgment

   entered in favor of the life insurer and reasoned,

                  [w]e commence our analysis of this decision by observing that
                  the parol evidence rule does not apply to insurance applications.
                  18A Fla.Jur. Insurance s 1010. The trial judge was apparently
                  led into error because this principle was not brought to his
                  attention.

   Id. at 1194. (Emphasis added). As the parol evidence rule is legally inapplicable to insurance

   applications, the seventh affirmative defense is legally insufficient and must be stricken with

   prejudice as a matter of law. 2

    This Court Should Strike Defendant’s Second, Third and Fourth Affirmative Defenses
        Because They are Denials which Simply Restate the Various Allegations in its
                                      Counterclaim.

          The Defendant pled the following Second, Third and Fourth affirmative defenses:

                                     Second Affirmative Defense

                         Plaintiff’s claims raised in the amended complaint are
                  barred    because       Rigoberto    Vinas      made    material
                  misrepresentations in the Application and/or Diabetes
                  Questionnaire for the Certificate which renders Certificate null
                  and void and of no force and effect and Forrester’s properly and
                  timely contested and rescinded the Certificate.




          2 In addition to the above primary basis for striking this affirmative defense, like with
   so many of the Defendant’s other defenses, the Defendant has again failed to include sufficient
   facts within to explain to put Plaintiff or this Court on notice of how Plaintiff supposedly
   violated the parol evidence rule, even if it were legally applicable to this insurance application.
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                                      Third Affirmative Defense

                          Forester’s timely and properly contested the Certificate
                  with respect to the material misrepresentations and/or omissions
                  made by Rigoberto Vinas and Forresters tendered to plaintiff a
                  refund check in the amount of $11,448.00 for premiums paid
                  under the certificate and, therefore, plaintiff is not entitled to
                  benefits under the Certificate as the Certificate is null and void.

                                     Fourth Affirmative Defense

                         Plaintiff has suffered no damages as a result of the matters
                  alleged in the Amended Complaint as the Certificate was void
                  ab initio a due to the material misrepresentations in the
                  Application and/or Diabetes Questionnaire made by Plaintiff.

   (D.E. 34, pp. 4, 5).

           A party may move to strike any affirmative defense which is “an insufficient defense

   or any redundant, immaterial, impertinent, or scandalous matter.” Fed. R. Civ. P. 12(f).

   (Emphasis added).      The second, third and fourth affirmative defenses are simply not

   affirmative defenses at all.     They are instead allegations taken almost verbatim from

   Defendant’s Counterclaim which make up various elements of their rescission cause of action.

   These defenses should properly be stricken as being either redundant, denials or redundant

   denials. Indeed, all three of these purported defenses deny the Plaintiff’s claims and then

   restate that Rigoberto Vinas made material misrepresentations. This is not an “affirmative

   defense.” “An affirmative defense is an assertion by the defendant raising new facts and

   arguments that, if true, will defeat the plaintiff’s claim, even if all allegations in the complaint

   are true.” MSPA Claims 1, LLC at *2. Here, the Defendant is not raising new facts but is

   simply denying Plaintiff’s allegations and restating Defendant’s claim that Rigoberto Vinas

   “made material misrepresentations in the Application and/or Diabetes Questionnaire.” (D.E.

   34, p. 4).
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          In the second affirmative defense Defendant asserts that “Plaintiff’s claims are barred

   because ... Vinas made material misrepresentations.” (D.E. 34, p. 4). The language in the

   second affirmative defense is taken directly from the first affirmative defense. Accordingly,

   the allegations contained in the second affirmative defense is unquestionably redundant and

   should be stricken. The same allegations regarding misrepresentations appear in the third

   affirmative defense as well. There, the Defendant once again alleges that Plaintiff “is not

   entitled to benefits” due to material misrepresentations. (D.E. 34, p. 5). (Emphasis added).

   Accordingly, the third affirmative defense is a denial along with a redundant recital of the

   Defendant’s misrepresentation claim and should properly be stricken.

          In the fourth affirmative defense, the Defendant alleges, “Plaintiff has suffered no

   damages as a result of the matters alleged in the Amended Complaint.” (D.E. 34, p. 5).

   (Emphasis added). The fourth defense is again merely a denial of the Amended Complaint

   allegations and like the preceding defenses, a recital of the misrepresentation claim which

   appears in the first four affirmative defenses. The restatement of the misrepresentation claim

   in the second, third and fourth affirmative defenses renders all three impermissibly redundant

   and subject to striking under the plain language of Fed. R. Civ. P. 12(f).

                                            Conclusion

          Pursuant to Federal Rule of Civil Procedure 12(f) and the case law interpreting it,

   Plaintiff respectfully requests the Court to grant this Motion to Strike Defendant’s Second,

   Third, Fourth, Fifth, Sixth, Seventh, Eighth, Ninth, and Tenth Affirmative Defenses and

   award any and all further relief this Court deems just and proper.




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                  CERTIFICATE OF COMPLIANCE WITH S.D. Fla. L.R. 7.1(a)(3)


          Undersigned counsel certifies that counsel for Defendant has been contacted with

   respect to the relief requested herein and is authorized to represent that the Defendant opposes

   the relief requested herein.


                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on October 15th, 2019, the undersigned certifies that the

   foregoing document is being served this date to Kristina B. Pett, Esq., Riley F. Kennedy, Esq.,

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